
ORDER
PETITION FOR REINSTATEMENT FROM INACTIVE STATUS
PER CURIAM:
AND NOW, this 3rd day of August, 2005, the Report and Recommendations of the Disciplinary Board dated June 10, 2005, are approved and IT IS ORDERED that SHERI GOODMAN SHAFFER, who has been on inactive status, has never been suspended or disbarred, and has demonstrated that she has the moral qualifications, competency and learning in law required for admission to practice in the Commonwealth, shall be and is, hereby reinstated to active status as a member of the Bar of this Commonwealth. The expenses incurred by the Board in the investigation and processing of the Petition for Reinstatement shall be paid by the Petitioner.
